      Case 3:20-cv-00313-DPM Document 7 Filed 11/09/20 Page 1 of 1



          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                  NORTHERN DIVISION

DeMARIO CANNON
#61175                                                      PLAINTIFF

v.                      No. 3:20-cv-313-DPM

KEITH BOWERS, Administrator,
Craighead County Detention Center;
and TONI RAYMOND, Administrative
Assistant, Craighead County Detention
Center                                                   DEFENDANT

                            JUDGMENT
     Cannon's complaint is dismissed without prejudice.



                                 D .P. Marshall Jr.
                                 United States District Judge
